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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

                                                 )
 LEAGUE OF UNITED LATIN                          )
 AMERICAN CITIZENS – RICHMOND                    )
 REGION COUNCIL 4614, et al.,                    )
                                                 )
                Plaintiffs,                      )
                                                 ) Civil Action No. 1:18-cv-00423-LO-IDD
        v.                                       )
                                                 )
                                                 )
 PUBLIC INTEREST LEGAL                           )
 FOUNDATION, an Indiana Corporation,             )
 and J. CHRISTIAN ADAMS                          )
                                                 )
                Defendants.                      )
                                                 )
                                                 )


         MEMORANDUM IN SUPPORT OF THE PARTIES’ JOINT MOTION TO
              SELECTIVELY SEAL PREVIOUSLY FILED EXHIBITS


        The Parties respectfully request that Exhibits 1 and 2 to ECF No. 130; Exhibits 2, 3, and

 4 to ECF No. 185; Exhibit 9 to ECF No. 194; Exhibit 9 to ECF No. 195; Exhibit 4 to ECF No.

 200; and Exhibits 5, 6, and 9 to ECF No. 204 (collectively, “the Exhibits”), be selectively sealed

 with redactions pursuant to Local Civil Rules 5 and 7, and in accordance with the Protective

 Order entered in this case (ECF No. 111). In support of this request, the Parties state as follows:

    1. There currently exists a Protective Order in this case providing that portions of a

        deposition transcript may be designated as “Confidential.” (ECF No. 111, ¶ 3.)

    2. Versions of deposition transcripts that contain information designated as Confidential

        were inadvertently filed without redaction in ECF No. 185, ECF No. 200, and ECF No.

        204.
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    3. Exhibits 1 and 2 to ECF No. 130; Exhibits 2 and 3 to ECF No. 185; Exhibit 9 to ECF No.

       194; Exhibit 9 to ECF No. 195; Exhibit 4 to ECF No. 200; and Exhibits 5, 6, and 9 to

       ECF No. 204 also contain personal identifiers, as described in Fed. R. Civ. P. 5.2 and

       Local Rule 7, which were inadvertently filed in unredacted format.

    4. In the Fourth Circuit, a party requesting a district court to seal court filings must show:

       (1) public notice of this request to seal that allows interested parties a reasonable

       opportunity to object; (2) that there are not less drastic alternatives to sealing the

       documents; and (3) a statement of specific findings supporting a decision to seal and

       rejecting alternatives to sealing. See Malon v. Franklin Fin. Corp., C.A. No. 3:14-cv-

       671, 2014 U.S. Dist. LEXIS 199229 at *4 (E.D. Va. Dec. 4, 2014) (citing Ashcraft v.

       Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000)).

    5. The deposition transcripts that were inadvertently filed without redaction contain the

       home addresses of Plaintiffs Eliud Bonilla, Luciana Freeman, and Abby Jo Gearhart. See

       Exhibits 2, 3, and 4 to ECF No. 185; Exhibit 4 to ECF No. 200; Exhibit 9 to ECF No.

       204. The parties mutually agreed on the record to designate the addresses of the

       Plaintiffs as Attorneys’ Eyes Only, pursuant to the procedures described in the Protective

       Order (ECF No. 111). See ECF No. 185, Ex. 2 at 9:15-10:15; Ex. 3 at 8:13-20; Ex. 4 at

       10:8-16. In light of the sensitive nature of this information and the claims about its

       publication in this case, Plaintiffs believe that the only method of protecting this

       information is to permanently redact these portions of the Exhibits.

    6. The Parties also seek to correct the unredacted filing of certain personal identifiers

       contained in Exhibits 1 and 2 to ECF No. 130; Exhibits 2 and 3 to ECF No. 185; Exhibit




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        9 to ECF No. 194; Exhibit 9 to ECF No. 195; Exhibit 4 to ECF No. 200; and Exhibits 5,

        6, and 9 to ECF No. 204 to comply with the standard required by Local Rule 7.

    7. Accordingly, to comply with the Protective Order and pursuant to Local Civil Rules 5

        and 7, the Parties have filed this Motion to Seal and respectfully request that the Court

        enter an Order permanently sealing the Exhibits as indicated in Exhibits A through K to

        the Cleminshaw Declaration.

    8. With this Memorandum in Support of the Parties’ Joint Motion to Seal, the Parties have

        also filed a Notice of Motion to Seal, Motion to Seal, a Proposed Order to seal the

        materials, and a Waiver of Oral Argument pursuant to Local Rules 5 and 7.


 Dated: July 15, 2019




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 Respectfully submitted,                             Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

        I, Nicole Cleminshaw, hereby certify that on July 15, 2019, I electronically filed the

 foregoing Memorandum in Support of the Parties’ Joint Motion to Selectively Seal Previously

 Filed Exhibits using the CM/ECF system, which shall send notification of such filing (NEF) to

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